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                                                                      FILED: June 21, 2023


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                           No. 23-1509
                                       (3:21-cv-00573-JAG)
                                      ___________________

        KATHY STEELE, Administrator of the Estate of Robert David Steele, et al.;
        EARTH INTELLIGENCE NETWORK

                     Plaintiffs - Appellees

        v.

        JASON GOODMAN

                     Defendant - Appellant

                                      ___________________

                                        JUDGMENT
                                      ___________________

              In accordance with the decision of this court, this appeal is dismissed.

              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                               /s/ PATRICIA S. CONNOR, CLERK
